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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 2:19-CV-14394-ROSENBERG

GEORGE FRIEDEL &
KATHLEEN FRIEDEL,

Plaintiffs,
VS.
SUN COMMUNITIES, INC.,

Defendant.
/

DEFENDANTS’ AMENDED MOTION FOR SANCTIONS

Defendants, Sun Communities, Inc. (“Sun Communities”) and Park Place Community,
L.L.C. (“Park Place”), by and through the undersigned counsel, hereby file this Amended and
Renewed Motion for Sanctions pursuant to 28 U.S.C.A. § 1927, and in support thereof state:

1. Plaintiffs, through counsel, filed a four (4) count complaint against Sun
Communities and Park Place alleging violations of 42 U.S.C. §3604, (Counts I and II), as well as
42 U.S.C. §3617 (Count III), and Tortious Interference/Breach of Contract (Count IV).

2. Early in the proceedings, this Court warned that this action was a derivative of a
prior claim between the parties: “Friedel II concerns the same dog, the same Plaintiffs, the same
eviction, and it is filed by the same counsel.” [Doc. 25].

3. Notwithstanding the language in this Court’s Order, Plaintiffs’ counsel continued
down the same road and filed a Second Amended Complaint against Park Place and Sun
Communities which required Defendants to continue to litigate dismissal and respond to

burdensome requests for documents and electronically stored information.
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4. On May 19, 2020, this Court entered an Order Granting Defendants’ Motion to
Dismiss, which dismissed all four of Plaintiffs’ counts with prejudice. [Doc. 40].

5. Any attorney who so multiplies the proceedings in any case unreasonably and
vexatiously may be required by the Court to satisfy personally the excess costs, expenses, and
attorneys' fees reasonably incurred because of such conduct. 28 U.S.C.A. § 1927 (West 2019).
“The purpose of § 1927 is to deter frivolous litigation and abusive practices by attorneys and to
ensure that those who create unnecessary costs bear them.” Boler v. Space Gateway Support Co.
LLC, 290 F. Supp. 2d 1272, 1277 (M.D. Fla. 2003). Dilatory practices of civil rights plaintiffs
are as objectionable as those of defendants. Roadway Exp., Inc. v. Piper, 447 U.S. 752, 762
(1980).

6. The imposition of sanctions under section 1927 requires notice and an opportunity
to be heard. But section 1927 does not contain the same ‘safe harbor requirements’ of Rule 11

and may be imposed after a final adjudication. Steinert v. Winn Grp., Inc., 440 F 3d 1214, 1223

(10th Cir. 2006).

7. Sanctions under § 1927 are measured against objective standards of conduct.
Objectively reckless conduct is enough to warrant sanctions even if the attorney does not act
knowingly and malevolently. In re Engle Cases, 283 F. Supp. 3d 1174, 1224 (M.D. Fla. 2017).

8, An attorney may be held liable for bringing a duplicative complaint which fails to
reference or disclose that the claim was previously adjudicated, even if that attorney later does
not oppose a motion to dismiss the complaint. See, Engle, 283 F. Supp. 3d at 1227. In this case,
“Plaintiffs’ Amended Complaint does not cite Friedel J in any way. Plaintiffs make no mention
of the jury trial or the jury verdict in Friedel I. Nor do Plaintiffs reference the jury finding that

their dog was a dangerous animal.” [Doc. 25, p. 2, Ord, Granting Mtn. to Dismiss].

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9, This Court entered an order granting Defendants’ Motion to Dismiss on all four
counts with prejudice. In doing so, this Court concluded that “Plaintiffs cannot plausibly allege
a claim for Park Place’s denial of a request for disability accommodation.” [Doc. 40] (Emphasis
Added). This Court further stated that:

Plaintiffs have provided no plausible, factual allegations to overcome this very

likely, very plausible explanation for Plaintiffs’ eviction. Stated succinctly,

Plaintiffs waited too long. Plaintiffs waited too long to give Maggie additional

behavioral training,4 and Plaintiffs waited too long to seek leave to amend to add

the issue of additional training to the Friedel J litigation. Because Plaintiffs’

allegations are implausible, Plaintiffs’ Count I and Count II are dismissed.

Because further amendment on this issue would be futile and because Plaintiffs

have already had the opportunity to amend, the Court’s dismissal is with
prejudice. Hall v. United Ins. Co., 367 F.3d 1255, 1262 (11th Cir. 2004). [Doc.

40].

10. Plaintiffs were unable to remotely establish a prima facie case, and the trial court
dismissed the matter without any need for a trial, evidentiary hearing, or even a hearing based on
summary judgment evidence. Plaintiffs’ claims were so wholly without merit that all four were
dismissed with prejudice at the motion to dismiss stage after only one opportunity to amend.

11. A review of the procedural history of this case, including a specific review of
opposing counsel’s personal opinions interjected throughout various filings, confirms that
Plaintiffs’ counsels’ continued litigation of this matter meets the standard of objective bad faith
and vexatious conduct.

12. This Court may take judicial notice of the prior action, Friedel I. Horne v. Potter,
892 F, App’x 800, 802 (11" Cir. 2010). In Friedel I, the Plaintiff, George Friedel, attempted to
introduce evidence of training conducted well after the institution of his Fair Housing Act
litigation. This evidence was properly excluded pursuant to this Court’s Order on Defendant’s
Motion in Limine. [Friedel I, Doc. 68]. In response, George Friedel’s counsel sent a revised

demand for reasonable accommodation, which included documentation regarding nine training

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sessions. When no response was provided, George Friedel’s counsel filed a Motion to Amend

Complaint in an effort to include the training materials that had been disallowed by this Court’s

holding on the Motion in Limine. [Friedel I, Doc. 75].

13. | When Plaintiff was denied the opportunity to amend his complaint at the 11" hour

in Friedel I, Plaintiff filed a Motion for New Trial. [Friedel J, Doc. 109]. The Motion for New
Trial was denied. [Friede/ J, Doc. 113].

14. After having lost on the Motion in Limine, having lost on the Motion to Amend,
having lost at trial, and having lost on the Motion for New Trial, Plaintiff proceeded to appeal
the matter to the Eleventh Circuit Court of Appeals. As anticipated, Plaintiff lost on appeal. In
bringing Friedel IJ, Plaintiffs’ counsels “disregarded or re-argued nearly all unfavorable court
rulings.” Vallejo v. Amgen, Inc., 903 F.3d 733, 749 (8th Cir. 2018) (imposing sanctions under §
1927),

15. In Plaintiffs’ Response to Sun Communities’ initial Motion to Dismiss, the intent
of Plaintiffs’ counsel were made all too clear. Plaintiffs’ counsel states that the jury in Friedel I

Was

deliberately kept ignorant regarding the professional training received by Plaintiff
George Friedel’s emotional assistance animal (“ESA”), a [sic] elderly Golden
Retriever named “Maggie,” and misled regarding the diligence of both Plaintiffs
in addressing Maggie’s reactivity to aggressive small dogs, nonetheless found for
the Plaintiff George Friedel on four out of five questions comprising the Verdict

Form. [Doe. 31, Pg. 1-2, fn 2].

16. Plaintiffs’ counsel again indicated her intent to reargue prior unfavorable rulings

from Friedel I:

That a different jury, armed with all facts as pled in the Complaint (including
Maggie’s extensive professional training and successful elimination of reactivity),
will find Sun Communities’ eviction actions unjustified is more than just
plausible — it’s likely. [Doc. 31, Pg. 13-14].

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17. Plaintiff waited more than two years, after Maggie had died, to reanimate this
litigation. But Plaintiff did not re-file against Park Place. Instead, Plaintiff elected to file only
against Sun Communities, and in both the name of George Friedel and Kathleen Friedel. It is
anticipated that this was done in order to avoid a res judicata claim, as the parties were now
different. “It is especially appropriate to impose sanctions in situations where the doctrines of
res judicata and collateral estoppel plainly preclude relitigation of the suit.” McLaughlin v.
Bradlee, 602 F. Supp. 1412, 1417 (D.D.C. 1985). “The imposition of sanctions is one of the few
options available to a court to deter and punish people who relitigate cases hopelessly
foreclosed.” Id.

18. Plaintiffs’ counsel also routinely brandished the specter of punitive damages and
attorneys’ fees against Defendants as often as possible throughout Friedel I and Friedel Il.
Plaintiffs demand “compensatory and punitive damages, and their attorney’s fees and costs” in

all four counts of Plaintiffs’ Second Amended Complaint. [Doc. 27].

19. Plaintiffs’ discovery included excessive and burdensome requests for as much
financial information as possible. Defendants’ counsel suspects this was done to make the
discovery process as burdensome as possible in order to extricate a settlement out of Defendants.
Examples of discovery requests that were excessive and burdensome include: Interrogatory #8:
“liJjdentify all employees and independent contractors which you paid wages, salary, or fees for
services in the last five (5) years who live(d) in Florida” and Request to Produce No. 6 “alll
documents which show, confirm, evidence, or reflect payments to those persons and contractors
identified in response to Interrogatory No. 8.”

20. Plaintiffs’ Motion to Compel seems to be more of a demand for payment from

Sun Communities or Park Place. In Plaintiffs’ Motion to Compel it is alleged that Plaintiffs’

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counsel is seeking “17 hours of legal researching and crafting of the [5 page Motion to
Compel].” [Doc. 39, Pg. 2].

21. Plaintiffs aggressively pursued their broad requests for documents and e-
discovery designed to impose a financial burden, despite Plaintiffs’ counsel admitting to
Defendants’ counsel on May 1, 2020, that “I doubt either side will learn much in discovery it did
not already know.”

22. Park Place litigated the case against Defendant George Friedel in 2017 and 2018,
which included an appeal to the Eleventh Circuit Court of Appeals. While Park Place prevailed
in that case, it could not be said that the filing of Friedel I was frivolous or without merit.

23. However, the filing of Friedel IJ, a case involving the same parties, the same dog,
and the same eviction demand, more than two years after the conclusion of Friedel I was an
obvious and calculated effort to relitigate unfavorable rulings issued in Friedel I.

24. This Court should determine that Plaintiffs’ counsels’ conduct was objectively
vexatious because counsel did not initially disclose the highly relevant issues decided in the prior
adjudication and because counsel continued to pursue the claim to impose a financial burden on
Defendants, even after the Court noted the duplicative nature of the proceedings on the record.

25. Defendants were required to retain Atlas Law, PLLC, to defend and litigate this
claim. Pursuant to its fee agreement with Atlas Law, Defendants are required to pay a fixed rate
of $200.00 per hour for the legal services performed in this matter. The timekeepers for Atlas
Law are attorneys Brian C. Chase and Ryan J. Vatalaro. Brian C. Chase is the managing partner
of Atlas Law with fifteen (15) years of experience. Mr. Chase has unique and relevant
experience in the areas of landlord/tenant law, mobile home community law, fair housing act

compliance, assistance animal accommodation requests, and federal jury-trial experience. Mr.

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Chase reasonably expended 53 hours in this matter at an hourly rate of $200.00. Ryan J. Vatalaro
is an associate attorney at Atlas Law with four (4) years of experience. Mr. Vatalaro has unique
and relevant experience in the areas of landlord/tenant law, mobile home community law, fair
housing act compliance, and assistance animal accommodation requests. Mr. Vatalaro
reasonably expended 86.6 hours in this matter at an hourly rate of $200.00. The total attorneys
fees expended by Atlas Law defending this matter are $28,746.10. A description of the tasks
done by each time keeper and Atlas Law’s invoices are attached hereto as Exhibit “A.”

26. Defendants were required to retain JAFFE RAITT HEUER & WEISS, P.C.
(“Jaffe”) as corporate counsel for Defendants’ Michigan headquarters to assist in defending this
claim, advising corporate officers, and managing discovery. Pursuant to its fee agreement with
Jaffe, Defendants are required to pay various hourly rates depending on the attorney providing
service. The timekeepers for Jaffe are attorney James Parks ($475.00/hour rate), David Adler
($360.00/hour rate), Julie Norton ($230.00/hour rate), Benjamin Low ($205.00/hour rate), and
Jody Anderson ($200.00/hour rate).

27. Mr. Parks is an equity partner with Jaffe. He has practiced commercial litigation,
employment law, traditional labor for over 39 years. His practice is national in scope. He was
trial counsel with Brian Chase of Atlas Law in the first jury trial in this matter, in this court. He
has worked closely with Atlas Law to defend the current litigation. He was intimately involved
with all strategies, defenses, affirmative defenses, and legal analysis. He reviewed and amended
pleadings and briefs. He was instrumental in preparing discovery for Defendant and gathering,
coding, and reviewing a plethora of documents demanded by Plaintiff. He headed up and worked

closely with the Jaffe team to gather and review the mountain of documents demanded by

Plaintiff in discovery.

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28. David Adler is a partner with Jaffe. He routinely practices in the Litigation &
Dispute Resolution, Appellate, and Insurance practice groups. He specializes in commercial and
general liability matters with a focus on contract disputes and business torts, the defense of injury
and property damage claims, real estate litigation, and insurance coverage. Mr. Adler has
extensive litigation practice experience at both the trial and appellate levels. He assisted in
providing research and analysis of case law, as well as assisting in preparation of discovery
responses on behalf of the Defendants.

29. Julie A. Norton is a litigation/eDiscovery paralegal with over 25 years of
litigation experience and nearly three years as the lead eDiscovery support paralegal. Ms.
Norton has a B.S. in Criminal Justice from Western Michigan University and a Paralegal
Certificate from the University of California, Los Angeles. Ms, Norton supports attorneys in all
phases of litigation including complex case management, drafting discovery requests and -
responses, database configuration and management, factual investigation and research, e-
discovery, summarizing deposition transcripts and medical records, and preparing for and
attending trials. Ms. Norton was charged with developing search terms and working with our
client to search their email archive for potentially responsive emails and transferring them into a
document review platform (Relativity). She also used her expertise to prepare additional
searches to pare down the data review set using key words and proximity search parameters.

30. Benjamin Low is a 4-year associate with Jaffe and was involve in all aspects of
defending this litigation, and discovery. He performed legal research, assisted to prepare
discovery and to collect and review documents demanded by Plaintiffs.

31. Jody Anderson is a certified paralegal of approximately 25 years, assisting Julie

Norton with logistical support.

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32. Jaffe reasonably expended 115.9 hours in this matter at the hourly rates provided
in the time keeping records attached hereto, for a total of $44,034.00 in legal fees. Additionally,
Jaffee experienced $29.70 in costs, which is further documented in the time keeping records
attached hereto. A description of the tasks done by cach time keeper and Jaffe’s invoices are
attached hereto as Exhibit “B.”

33. Defendants also seek an award of $2,500.00 for its canine expert witness retained
to rebut the opinion of Plaintiffs’ canine expert witness. The expert invoice is attached hereto as
Exhibit “C.” When a prevailing party seeks reimbursement for fees paid to its expert witnesses,
a federal court is bound by statutory witness fees, absent contract or explicit statutory authority
to the contrary. Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437, 437 (1987). Under the
lease agreement between the parties, Defendants are entitled to all “costs, expenses and
reasonable attorneys fees” “incurred or expended” “if the Tenant fails to voluntarily vacate the
premises after termination[.]” [Doc. 27, Exh. E, Page 5]. The parties’ use of “expenses” as a term
of art indicates the parties’ intent to shift expenses, such as expert expenses, in addition to
statutory taxable costs. C.f, Arlington Cent. Sch. Dist. Bd. af Educ. v. Murphy, 548 U.S. 291, 297
(2006).

34. The total amount sought to be recovered is the sum of the invoiced amounts
incurred in defending this matter as evidenced in Exhibits A, B, and C attached hereto and
incorporated herein.

35. Counsel for Defendants certifies that he has conferred with Plaintiffs’ counsel on
the relief requested in this Motion in good faith. The parties did not reach an agreement on

entitlement or amount of fees. Unfortunately, no stipulations were made.

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WHEREFORE, Sun Communities and Park Place respectfully request an order awarding
Defendants attorneys’ fees, expenses and costs reasonably incurred due to Plaintiffs’ conduct and

any further and additional relief that this Court deems just and appropriate.

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CERTIFICATE OF SERVICE

1 HEREBY CERTIFY that on the Ie day of Duty , 2020, I electronically

filed the foregoing with the Clerk of Court by using the CM/ECF system which will send notice

of electronic filing to all counsel of record.

/s/ Brian C. Chase
Brian C. Chase, Esq.
Florida Bar No. 17520

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